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                                                                    FILED: March 29, 2019

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 19-1325
                                          (1:18-cv-00979-CCB)
                                         ___________________

        ROBERT L. BENDER; DEBORAH A. BENDER

                     Plaintiffs - Appellants

        v.

        ELMORE & THROOP, P.C.

                     Defendant - Appellee


        This case has been opened on appeal.

        Originating Court                         United States District Court for the
                                                  District of Maryland at Baltimore
        Originating Case Number                   1:18-cv-00979-CCB
        Date notice of appeal filed in            03/27/2019
        originating court:
        Appellant(s)                              Robert L. Bender; Deborah A. Bender

        Appellate Case Number                     19-1325
        Case Manager                              T. Fischer
                                                  804-916-2704
